     

 

- Wisconsin’s Employment Law Firm” *

July 13, 2017

Via facsimile only
(920) 437-2868

George Burnett, Esq.

Jodi Arndt Labs, Esq.

Conway, Olejniczak & Jerry S.C.
231 South Adams Street

P.O. Box 23200

Green Bay, WI 54305-3200

Re: Fast v. Cash D LTD

Dear Counsel:

Enclosed please find Plaintiff's Answers and Objections to Defendant's [Second Set] of Interrogatories
and Request to Produce Documents. The client signature page is forthcoming.

We assume that there was a typo with regard to the titling of the Defendant’s discovery requests as we did
not receive a first or imtial sct of discovery requests from Defendant. If another set of discovery requests

was sent to Plaintiff, please advise.
Thank you.

Sincerely,

WALCHESKE & LUZI, LLC
8/ Kelly L. Temeyer

Kelly L. Temeyer

Attorney at Law
ktemeyer@waicheskeluzi.com

 

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EXHIBIT |

 
UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF WISCONSIN
GREEN BAY DIVISION

 

TIMOTHY J. FAST,
on behalf of himself and
all others similarly situated,

Plaintiff,

Vv. Case No. 16-CV-1347
CASH DEPOT LTD.,

Defendant.

 

PLAINTIFF’S ANSWERS TO DEFENDANT’S [SECOND SET] OF
INTERROGATORIES AND REQUEST TO PRODUCE DOCUMENTS

 

GENERAL RESERVATIONS AND OBJECTIONS

1. These responses are made on the basis of information presently available and
located by Plaintiff, and Plaintiff reserves the right to modify his responses and/or objections with
such additional information as subsequently may be discovered.

2. The responses and objections hercin are made solely for the purpose of this action.
Each response is subject to all objections as to competence, relevance, materiality, propriety and
admissibility and to any and all other objections on the grounds which would require the exclusion
from evidence of any statement herein, if any interrogatory were asked of, or any statement
contained herein were made by a witness present and testifying in court, all of such objections and

grounds are expressly reserved so that these may be made at trial.

3, Plaintiff objects to each of the interrogatories to the extent that they seek
information regarding communications between Plaintiff and his legal counsel on the ground that

such communications are privileged and not subject to discovery. No response is intended to waive

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such privilege, including the inadvertent disclosure of any privileged information which resulted
from Plaintiff's good faith effort to thoroughly respond to these interrogatorics im the required
period of time. Accordingly, Plaintiff reserves the right to recall any privileged information that

was inadvertently disclosed in responding to these Discovery Requests.

INTERROGATORIES

INTERROGATORY NO. 1: With regard to the costs incurred or expended to date on your
behalf for the above-referenced litigation, provide a description of each item of costs, the amount
of such cost, indicate whcther the cost has becn paid, the amount of the payment, and the person
or entity making the payment. Attached to your answer any document corroborating any aspect of
your answer.

ANSWER: Plaintiff objects to this Interrogatory as overbroad and requesting information
and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.
Subject to and without waiving said objection, as of July 12, 2017, Plaintiff has incurred
approximately $402.35 ($400 for the filing fee paid to the Eastern District of Wisconsin and $2.35
in postage) in costs related to the above-referenced litigation. Because litigation of this matter is
ongoing, Plaintiff reserves the right to amend this response to reflect additional costs, as incurred.
Further, by answering this Interrogatory, Plaintiff has not and does not agree to accept
reimbursement for costs in the amounts stated herein as a form of settlement of his claims against
Defendant.

INTERROGATORY NO. 2: With regard to the atlorney’s fees incurred or expended to
date in this litigation, (A) describe the total amount of the fees incurred, the nature of each legal
service and/or activity for which any charged was made for legal services, the amount of time

spent on each such legal service and/or activity, the amount of the charged for such legal service

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and/or activity, and state whether payment has been made, and if so, by whom an when; (B) if the
legal charges were based on increments of time, such as an hourly charge describe for cach person
providing legal service and/or activity, the amount of the charge, indicate the capacity (i.e.
attorney, paralegal, administration staff, etc.) of the person performing such legal service and/or
activity, describe the qualifications of such person to perform those tasks. Indicate the nature of
the fee agreement between you and your attorneys: this means whether the fee agreement is hourly,
a flat fee, or contingent based on recovery or any other arrangement.

Attach to your answer, any document corroborating any aspect of your answer.
ANSWER: Plaintiff objects to this Interrogatory as overbroad, unduly burdensome, not
reasonably calculated to lead to the discovery of admissible evidence, and requesting information
and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.
Subject to and without waiving said objection, as of July 12, 2017, Plaintiff has incurred
approximately $12,931.00 in attorneys’ fees related to the above-referenced litigation. Because
litigation of this matter is ongoing, Plaintiff reserves the right to amend this response to reflect the
additional attorneys’ fees he continues to incur. Further, by answering this Interrogatory, Plaintiff
has not and does not agree to accept reimbursement for his attorneys’ fees in the amount stated

herein as a form of settlement of his claims against Defendant.

As to objections only,

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Dated this 13th day of July, 2017.

WALCHESKE & LUZI, LLC
Attorneys for Plaintiff

By: s/ Kelly L. Temeyer
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July 6, 2017
VIA EMAIL ONLY (GB@\Icojlaw.com)

George Burnett, Esq.

Conway, Olejniczak & Jerry, S.C.
231 S. Adams Street

Green Bay, WI 54305

Re:Fast v. Cash Depot, Ltd.
Case No. 16-CV-1637

Dear Attorney Burnett:

Please allow this letter to follow-up, in part, on our teleconference this morning, as well as
Defendant’s Responses to Plaintiff's First Set of Interrogatories and Request for Production of
Documents. During our call, I stated my understanding, based on Defendant’s discovery responses
in general, that Defendant was of the opinion that Mr. Fast’s claims have essentially been rendered
moot as a result of the audit conducted by Schenck, S.C., and the subsequent payments that were
made to Defendant’s employees resulting from that audit. You confirmed, clarifying that
Defendant believes the matter is moot (rather than my equivocation). In response, I indicated that
I could not certify to the Court that this matter was mooted because I was not provided with
information indicating who was paid, the amounts that were paid to each person, and the
underlying calculation. We then moved into a discussion regarding the calculations themselves
and my deep concerns therewith.

An outcome of our discussion was an agreement to stay the Court’s Scheduling Order while the
concerns | raised were addressed. However, and we did not discuss this on the call, even if the
calculations are remedied, I will still not be in a position to certify to the Court that this matter is
moot without the information for each individual. I will be sending discovery to you shortly
requesting that information.

As a more immediate matter and particularly in light of my concerns with the calculations used to
recently provide additional compensation to Defendant’s employees, there are deficiencies with
Defendant’s responses, particularly with respect to Defendant’s responses to Interrogatory Nos. |
and 11, and Request to Produce Nos. 1, 4, 5, 7, and 9. Those deficiencies are outlined below.

 

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Interrogatory No. 1: This Interrogatory asked Defendant to identify the putative class — “any and
all individuals employed in the position of non-exempt Field Service Technician at any time during
the time period of December 9, 2013 to the date of your responses” — and to provide specific
information pertaining to each identified individual.

In response, Defendant objected to this Interrogatory as “overbroad, unduly burdensome and not
proportional to the needs of the case considering (1) the amount in controversy and (2) the marginal
importance of the requested information in resolving the issues in this matter.” Further, Defendant
objected that the Interrogatory was “irrelevant, primarily due to the fact Cash Depot has paid its
field service technicians all wages owed to them, including overtime.” In light of those objections,
Defendant did not provide any responsive information.

First, we have not yet established the amount in controversy because Defendant has not provided
us any information about the putative class necessary to calculate the same. Second, information
about the putative class is of central, not “marginal,” importance. Third and as discussed during
our call today, this information remains relevant because Defendant has not provided us any
information regarding whom it may additional payments to, the amounts of those payments, or the
calculations underlying those payments. Further, the information that it did provide relating solely
to Mr. Fast, demonstrates that the putative class’ damages were miscalculated and underpaid.

Accordingly, and because this remains an open and ongoing dispute, please provide the requested
information.

Interrogatory No. 11: This Interrogatory asked Defendant to “[i]dentify any and all states in which
Defendant employed individual(s) in the position of Service Technician, or that position’s
equivalent, from the period of December 9, 2013 to the date of your responses.”

In response, Defendant objected on the same grounds stated in its response to Interrogatory No. |,
and did not provide any responsive information.

For the same reasons I stated with respect to Interrogatory No. 1, above, please provide the
requested information.

Request to Produce No. 1: This Request asked Defendant to produce “any and all documents
identified in Defendant’s Initial Disclosures, in whatever form maintained.”

In response, Defendant objected on the same grounds stated in response to Interrogatory No. 1,
and provided only copies of Mr. Fast’s personnel file and time cards and payroll records.
Defendant did not provide any of the other documents identified in its Initial Disclosures.

For the same reasons I stated with respect to Interrogatory No. 1, above, please provide the
requested information.

Request to Produce No. 4: This Request asked Defendant to produce “any and all employment

policies, procedures and/or handbooks maintained by Defendant for its non-exempt Field Service
Technicians applicable to the time period of December 9, 2013, to the date of your responses,”

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including documentation showing any updates or revisions thereto.

In response, Defendant objected on the same grounds stated in response to Interrogatory No. |,
and further objected that this Request “seeks policies and handbooks that are irrelevant to the issue
of overtime compensation.” By incorporation, Defendant referred back to Exhibits C and D.
Exhibit C is a one-page, manipulated document that contains three sections (presumptively, but
not even necessarily, complete sections) from Defendant’s “ATM Technician Policy Handbook”
relating to “Lunch / Break Times,” “Overtime,” and “On Call Shifts.” Exhibit D is a “Memo”
dated “8/4/15” relating to Defendant’s “Road to 10 Million Bonus Program.” Defendant did not
otherwise produce its policies, procedures, or handbooks, or any revisions thereto.

For the same reasons I stated with respect to Interrogatory No. 1, above, please provide the
requested information. Further, and while J appreciate that Defendant may maintain policies and/or
handbook provisions that may ultimately not be relevant, Defendant is not in a position to decide
relevance or otherwise pick and choose what it produces based on its self-analysis of those policies
and provisions.

Request to Produce No. 5: This Request asked Defendant to produce “any and all policies or
procedures as they existed in 2013, 2014, 2015, 2016, and 2017 that relate to the tracking or
recording hours of work, and overtime, as well as any changes thereto since the filing of Plaintiff's

Complaint.”

In response, Defendant objected on the same grounds stated in response to Interrogatory No. 1.
That objection notwithstanding and by incorporation, Defendant referred back to Exhibits C and
D. Again, Exhibit C is a one-page, manipulated document that contains three sections
(presumptively, but not even necessarily, complete sections) from Defendant’s “ATM Technician
Policy Handbook” relating to “Lunch / Break Times,” “Overtime,” and “On Call Shifts,” and
Exhibit D is a “Memo” dated “8/4/15” relating to Defendant’s “Road to 10 Million Bonus
Program.” Neither Exhibit C nor Exhibit D is responsive to this Request, and Defendant did not
otherwise produce any responsive information.

For the same reasons I stated with respect to Interrogatory No. 1, above, please provide the
requested information.

Request to Produce No. 7: This Request asked Defendant to produce “any and all policies and/or
procedures as they existed in 2013, 2014, 2015, 2016, and 2017 that relate to any bonuses or
additional compensation (potentially) available to non-exempt Field Service Technicians, as well
as any changes thereto since the filing of Plaintiff's Complaint.”

In response, Defendant objected on the same grounds stated in response to Interrogatory No. |.
That objection notwithstanding and by incorporation, Defendant again referred back to Exhibits C
and D. The contents of those Exhibits have been discussed herein. While Exhibit D appears
responsive, in that it relates to Defendant’s “Road to 10 Million Bonus Program,” it is from 2015,
and no other responsive information was provided, leaving open the question of whether any other
responsive information exists that should have been properly produced.

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For the same reasons I stated with respect to Interrogatory No. 1, above, please provide any
additional, responsive information. If none exists, please amend the response to state the same.

Request to Produce No. 9: This Request asked Defendant to produce “any and all communications,
including, but not limited to, correspondence, memoranda, and e-mail communications, by and/or
between agents, employees, officers, and/or directors of Defendant regarding or related to
Defendant’s policies and/or practices concerning overtime, Defendant’s defined workweek, on-
call or off-duty work, payment of shift premiums or differentials, or tracking or recording of time
worked by the individuals identified in response to Interrogatory No. 1 propounded above.”

In response, Defendant objected on the grounds that the Request 1s “overbroad and not reasonably
calculated to lead to admissible evidence,” and that the requested information is “irrelevant.”

I again will remind Defendant that it is not in a position to decide relevance, particularly when it
comes to communications that are certainly discoverable and could lead to the discovery of
admissible evidence, particularly in cases brought under the Fair Labor Standards Act, where
knowledge and willfulness are at issue. Accordingly, please provide the requested information.

All of the foregoing information is within the Defendant’s possession and control and should
have been promptly preserved upon notice of Plaintiff's Complaint. Accordingly, it should not
be laborious to provide. Therefore, I ask that Defendant supplement and/or amend its discovery

responses by no later than Monday, July 17, 2017.

Sincerely,
WALCHESKE & LUZI, LLC

s/ James A. Walcheske
James A. Walcheske
Attorney at Law

Jwalcheske@walcheskeluzi.com

cc: Mr. Timothy Fast

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